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                           DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                             )
                                                      )
                      Plaintiff,                      )
                                                      )
                      v.                              )       Case No. 3:19-cr-0080
                                                      )
MALACHI BENJAMIN,                                     )
                                                      )
                      Defendant.                      )
                                                      )

                                            ORDER
       BEFORE THE COURT is the is the motion of Malachi Benjamin (“Benjamin”) to
continue the November 2, 2020 trial in this matter. (ECF No. 40.) For the reasons stated
herein, the time to try this case is extended up to and including November 16, 2020.
       On December 18, 2019, a federal grand jury returned an indictment against Benjamin
charging him with possession with intent to distribute cocaine hydrochloride in violation of
21 U.S.C. § 841(a)(1). The trial is currently set for November 2, 2020.
       On October 19, 2020, Benjamin filed a motion to continue the trial date. (ECF No. 40.)
As a basis for his request, Benjamin asserts that his counsel has been unable to discuss
discovery with Benjamin because the federal facility where Benjamin is detained—the
Metropolitan Detention Center in Guaynabo, Puerto Rico (“MDC Guaynabo”)—has been
closed to visitation during the COVID-19 pandemic. Id. at 2. Additionally, Benjamin asserts
that his counsel needs to interview a witness who is also incarcerated. Id.
       While the Speedy Trial Act requires that defendants be tried within seventy days of
indictment, the Court specifically finds that extending this period would be in the best
interest of justice. First, an extension of time is necessary to allow Benjamin time to review
the discovery in this matter. Second, an extension of time is necessary to allow Benjamin’s
counsel time to interview witnesses. Third, without an extension, Benjamin would be denied
reasonable time necessary to properly prepare for trial in consultation with his counsel.
       Consistent with these concerns, the United States Court of Appeals for the Third
Circuit has recognized that “whether or not a case is ‘unusual’ or ‘complex,’ an ‘ends of justice’
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continuance may in appropriate circumstances be granted.” United States v. Fields, 39 F.3d
439, 444 (3d Cir. 1994); United States v. Dota, 33 F.3d 1179(9th Cir. 1994) (“An ends of justice
continuance may be justified on grounds that one side needs more time to prepare for trial
[even if the] case [i]s not ‘complex.’”); see also United States v. Lattany, 982 F.2d 866, 883 (3d
Cir. 1992) (“[T]he district court did not abuse its discretion when it delayed the trial to give
counsel . . . opportunity to . . . decid[e] upon and prepar[e] an appropriate defense.”); United
States v. Brooks, 697 F.2d 517, 522 (3d Cir. 1982) (holding there was no abuse of discretion
where district court found that multiple count, multiple defendant “case was complex and
required additional time for adequate preparation.”); cf. United States v. Santiago-Becerril,
130 F.3d 11, 17 (1st Cir. 1997) (explaining that, where a defendant had moved to continue
his trial due to his counsel’s unavailability, the “period of delay” caused by an ends of justice
continuance includes the time “reasonably required to schedule a new trial date” in
“consideration of the court’s calendar”).
        The premises considered, it is hereby
        ORDERED that Benjamin’s motion to continue the trial in this matter, ECF No. 40, is
GRANTED; it is further
        ORDERED that the time beginning from the date of this order granting an extension
through November 16, 2020, shall be excluded in computing the time within which the trial
in this matter must be initiated pursuant to 18 U.S.C. § 3161; and it is further
        ORDERED that the trial in this matter previously scheduled for November 2, 2020, is
RESCHEDULED to commence promptly at 9:00 A.M. on November 16, 2020, in St. Thomas
Courtroom 1 before District Judge Robert A. Molloy.




Dated: October 21, 2020                             /s/ Robert A. Molloy
                                                    ROBERT A. MOLLOY
                                                    District Judge
